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                       UNITED STATE DISTRICT COURT
                            DISTRICT OF IDAHO

 PLANNED PARENTHOOD GREAT NORTH-
 WEST, HAWAII, ALASKA, INDIANA, KEN-                Case No. 1:23-cv-00142-BLW
 TUCKY, on behalf of itself, et al.,
                Plaintiffs,                         DEFENDANTS’ FIRST NO-
                                                    TICE OF SUPPLEMENTAL
                                                    DECLARATIONS REGARD-
 v.
                                                    ING SUBJECT MATTER JU-
 RAÚL LABRADOR, in his capacity as the At-          RISDICTION
 torney General of the State of Idaho; et al.,
                Defendants.



       The undersigned Defendants submit the attached declarations of county pros-

ecutors in connection with the Court’s “independent obligation to determine whether

subject-matter jurisdiction exists, even in the absence of a challenge from any party.”



      DEFENDANTS’ FIRST NOTICE OF SUPPLEMENTAL DECLARATIONS RE-
                         GARDING SUBJECT MATTER JURISDICTION – 1
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Arbaugh v. Y & H Corp., 546 U.S. 500, 514 (2006); Ex parte McCardle, 7 Wall. 506,

514 (1868). These declarations further show, consistent with the arguments in De-

fendants’ briefing, 1 that this action does not present a justiciable Article III contro-
                    0F




versy.

         These declarations have been executed by the following county prosecutors:

Benjamin Allen, Shoshone County; Cody Brower, Oneida County; Mariah R. Dun-

ham, Benewah County; and Louis Marshall, Bonner County. The undersigned De-

fendants anticipate submitting further supplemental declarations under separate

cover as they become available.

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1 See, e.g., Dkt. 42 at 4 (“[T]he Crane Letter was not law enforcement guidance sent
out publicly to local prosecutors … nor was it ever published by the Office of the At-
torney General.”) (quotation omitted); Dkt. 42 at 18 (“Plaintiffs do not allege that the
Attorney General sent the letter to anyone else, much less to the county prosecutors
or the state licensing boards, each of which act independent of the Attorney Gen-
eral.”); Dkt. 85 at 5 (“They do not contend that any of the 44 county prosecutors they
sued have threatened them or anyone else under the Crane Letter theory.”); Dkt. 107
at 1 (“[T]he officials who have prosecutorial authority have said and done nothing.”);
id. at 6 (“[N]o county prosecutor or state licensing board has taken any action or ex-
pressed any position about the theory of prosecution in the Crane Letter. Nor do
Plaintiffs allege otherwise.”); id. at 8 & n.4 (“Plaintiffs have not shown any relevant
action by county prosecutors anywhere, but it is even more troubling for prosecutors
in the 41 other counties” where Plaintiffs have no facilities).


      DEFENDANTS’ FIRST NOTICE OF SUPPLEMENTAL DECLARATIONS RE-
                         GARDING SUBJECT MATTER JURISDICTION – 2
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      DATED: May 3, 2023.

                                     STATE OF IDAHO
                                     OFFICE OF THE ATTORNEY GENERAL


                                  By:   /s/ Lincoln Davis Wilson
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                                         Chief, Civil Litigation and
                                         Constitutional Defense
                                         BRIAN V. CHURCH
                                         TIMOTHY LONGFIELD
                                         Deputy Attorneys General

                                     Attorneys for Defendants Attorney General
                                     Raúl Labrador and Certain County Prosecut-
                                     ing Attorneys 2
                                                  1F




2 Jan Bennetts, Ada County Prosecutor; Chris Boyd, Adams County Prosecutor; Alex
Gross, Boise County Prosecutor; Andrakay Pluid, Boundary County Prosecutor; Jim
Thomas, Camas County Prosecutor; McCord Larsen, Cassia County Prosecutor; Tre-
vor Misseldine, Gooding County Prosecutor; Mark Taylor, Jefferson County Prosecu-
tor; Rob Wood, Madison County Prosecutor; Lance Stevenson, Minidoka County Pros-
ecutor; Cody Brower, Oneida County Prosecutor; Benjamin Allen, Shoshone County
Prosecutor; Grant Loebs, Twin Falls County Prosecutor; and Brian Naugle, Valley
County Prosecutor.


    DEFENDANTS’ FIRST NOTICE OF SUPPLEMENTAL DECLARATIONS RE-
                       GARDING SUBJECT MATTER JURISDICTION – 3
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                            CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on May 3, 2023, I electronically filed the foregoing with
the Clerk of the Court using the CM/ECF system which sent a Notice of Electronic
Filing to the following persons:

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                                         /s/ Lincoln Davis Wilson
                                       LINCOLN DAVIS WILSON
                                       Deputy Attorney General




     DEFENDANTS’ FIRST NOTICE OF SUPPLEMENTAL DECLARATIONS RE-
                        GARDING SUBJECT MATTER JURISDICTION – 4
